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      his official capacity as Attorney General of
  8   the State of California, and Luis Lopez,
      in his official capacity as Director of
  9   the Department of Justice Bureau of
      Firearms
 10
                        IN THE UNITED STATES DISTRICT COURT
 11
                    FOR THE SOUTHERN DISTRICT OF CALIFORNIA
 12
 13
 14
 15   Matthew Jones, et al.,                          3:19-cv-01226-L-AHG
 16                                     Plaintiffs,
 17                v.                          DECLARATION OF JENNIFER
                                               ROSENBERG IN SUPPORT OF
 18                                            JOINT MOTION FOR
      Xavier Becerra, in his official capacity MODIFICATION OF
 19   as Attorney General of the State of      SCHEDULING ORDER
      California, et al.,
 20                                            Dept:   5B
                                  Defendants.
 21                                            Judge:  The Honorable M. James
                                                       Lorenz and Magistrate
 22                                                    Judge Alison H. Goddard
 23                                                   Final Pretrial Conference
                                                      Date:         June 25, 2021
 24
                                                      Action
 25                                                   Filed:       July 1, 2019
 26                                                   First Amended Complaint
                                                      Filed:     July 30, 2019
 27
                                                      Second Amended Complaint
 28                                                   Filed:   November 8, 2019
         Decl. of Jennifer Rosenberg in Support of Joint Motion for Modification of Scheduling Order
                                                                           (3:19-cv-01226-L-AHG)
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  1        I, Jennifer E. Rosenberg, hereby declare as follows:
  2
  3        1.    I am an attorney duly licensed to practice law in the State of California. I
  4   am authorized to appear before the above-entitled Court. I am employed as a
  5   Deputy Attorney General for the California Attorney General’s Office within the
  6   California Department of Justice. I am assigned to represent Defendant Xavier
  7   Becerra, in his official capacity as Attorney General of the State of California, and
  8   Defendant Luis Lopez, in his official capacity as Director of the Department of
  9   Justice Bureau of Firearms (collectively, “Defendants”), in this action.
 10        2.    Throughout this litigation, the parties have operated under the shared
 11   agreement that it would be premature to engage in discovery until after resolution
 12   of Plaintiffs’ preliminary injunction motion, as all parties agree that the decision
 13   likely will be appealed to the Ninth Circuit. See ECF No. 11 at 13, 20, 22-23.
 14        3.    Counsel for Plaintiffs and Defendants conferred in good faith via e-mail
 15   and telephone on June 18, 22, and 26 and July 2, 7, 8, 9, 10, 14, and 15, 2020 to
 16   discuss the discovery deadlines set in this matter, including the need for additional
 17   time to complete fact discovery and expert witness discovery.
 18        4.    The COVID-19 pandemic has had, and will continue to have, significant
 19   consequences for the litigants and counsel in this case, including the need to
 20   coordinate and conduct remote depositions and otherwise modify the discovery
 21   process to address the needs of any parties or counsel with particular health risks.
 22        5.    Given these pandemic-related challenges, and because Plaintiffs’
 23   preliminary injunction motion has not yet been resolved, the Defendants now
 24   believe that the parties should proceed with discovery while they await a ruling on
 25   the preliminary injunction motion rather than continuing to wait to begin that
 26   process.
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         Decl. of Jennifer Rosenberg in Support of Joint Motion for Modification of Scheduling Order
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  1        6.    Following their discussions in June and July 2020, the parties and their
  2   counsel agreed that the current scheduling order setting the close of fact discovery
  3   on September 23, 2020 should be adjusted to provide sufficient time for the parties
  4   to complete fact and expert discovery in an efficient manner, to avoid any undue
  5   prejudice that might result from the parties’ prior good faith decision to commence
  6   discovery after a ruling on the preliminary injunction motion, and to otherwise
  7   efficiently manage the discovery process.
  8        7.    The parties and their counsel further agreed that a modification of the
  9   current Scheduling Order extending all deadlines by approximately 6-8 weeks
 10   likely would allow sufficient time to complete written fact discovery, depositions of
 11   non-experts, and expert witness discovery.
 12        8.    The parties have not previously sought modification of the Scheduling
 13   Order.
 14        9.    At this time, the parties do not anticipate seeking further modification of
 15   the Scheduling Order in the future. However, the parties would like to reserve their
 16   ability to seek the Court’s approval of further modifications for good cause should
 17   the need to do so arise.
 18
 19        I, Jennifer E. Rosenberg, affirm under penalty of perjury under the laws of the
 20   United States and of the State of California that the foregoing is true and correct of
 21   my own knowledge, and that this declaration is executed on this 17th day of July
 22   2020 at Los Angeles, California.
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 24
                                                        __________________________
 25                                                     JENNIFER E. ROSENBERG
                                                        Deputy Attorney General
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          Decl. of Jennifer Rosenberg in Support of Joint Motion for Modification of Scheduling Order
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